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                        5                        UNITED STATES DISTRICT COURT
                        6                      NORTHERN DISTRICT OF CALIFORNIA
                        7

                        8    UNITED STATES OF AMERICA,
                        9                Plaintiff,                    CR 05-491 VRW/BZ
                       10          v.
                                                                       ORDER MODIFYING CONDITIONS
                       11    JASON TANG,                               OF PRETRIAL RELEASE
                       12                Defendant.
                                                               /
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                       14          Upon request of defendant and good cause appearing,
                       15          IT IS HEREBY ORDERED that defendant's pretrial release
                       16    conditions may be modified as follows:
                       17          1.   He is allowed to travel to the Eastern District of
                       18    California, provided he first notify Pretrial Services;
                       19          2.   His curfew requirement is removed.
                       20          Dated: December 21, 2005
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                                                                BERNARD ZIMMERMAN
                       23                                       Magistrate Judge
                                                                United States District Court
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